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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )          4:05CR3010
                                               )
                     Plaintiff,                )
                                               )
       vs.                                     )
                                               )          ORDER
SALOME GEE PEREZ,                              )
                                               )
                     Defendant.                )

       IT IS ORDERED that the hearing on the government’s motion for reduction of
sentence pursuant to Rule 35(b) (filing 83) has been reset before the undersigned United
States district judge on Wednesday, September 13, 2006, to 12:30 p.m., in Courtroom No. 1,
United States Courthouse and Federal Building, 100 Centennial Mall North, Lincoln,
Nebraska. The United States Marshal is directed to return the defendant to the district for
the hearing.

       September 12, 2006.                         BY THE COURT:

                                                   s/ Richard G. Kopf
                                                   United States District Judge
